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                               UNITED STATES DISTRICT COURT                         FILED
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION                    11:09 am, Mar 31, 2021
                                                                             U.S. DISTRICT COURT
T]NITED STATES OF AMERICA.                    )                            SOUTHERN DISTRICT OF INDIANA
                                              )                               Roger A.G. Sharpe, Clerk
                        Plaintill.            )
                                              )
                                              )      Cause No.   1:21-cr-102-SEB-TAB
                                              )
GEORGE S. BLANKI]NBAKER. JR..                 )
                                              )
                       Def-endant.            )


                                        INFORMATION

        The United States Attomey charges that:

                                           COUNT 1
                                           Wire Fraud
                                         l8 u.s.c. $ 1343

                                        INTRODUCTION

       At times material to Count I of this Information:

        1.     GEORGE S. BLAI{KENBAKER, JR., the Defendant herein, was a resident of

Marion County or Hamilton County, Indiana, within the Southem District         of   Indiana, and

primarily conducted his business operations from his residences. On certain occasions he

conducted business operations from offices located in Marion County or Hamilton County, Indiana

outside of his residences.

       2.      As a self-described conductor of investments and intemational trade, GEORGE S.

BLANKENBAKER, JR.            created certain business entities between May 2008 and August 2016

and later used these entities, which he then owned and managed, in the execution of the scheme

and artifice to defraud further described herein. The entities so utilized were Stargrower
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Commercial Bridge Loan Fund        I LLC and Stargrower    Asset Management, LLC (hereinafter the

Stargrower Entities).

        3.        GEORGE S. BLANKENBAKER, JR. induced various individuals to invest in

the Stargrower Entities listed above. GEORGE S. BLANKENBAKER, JR. represented to the

investors that the funds they invested would be used to finance the use of shipping containers     of
food in the "intemational trade of fast moving consumer products similar to what you would find

in a grocery store."

       4.         The investment funds received by GEORGE S. BLANKENBAKER, JR. were

deposited into Stargrower Entities bank accounts which he solely controlled and as to which he

was the sole signatory.

                                   THE SCHEME TO DEFRAUD

       5.         Beginning not later than the 30th day of September 2016, and continuing until at

least the l6th date of May 2019, GEORGE S.       BLANKENBAKER, JR. did knowingly, and with

the intent to defraud, devise and execute a scheme and artifice to defraud, and to obtain money by

means of materially false and fraudulent pretenses, representations and promises, knowing that the

pretenses, representations, and promises were false and fraudulent when made. The false and

fraudulent pretenses, representations and promises included, bul were not limited to:

             a.   Soliciting millions of dollars of investment funds under false pretenses, including

                  false representations regarding how the investment funds would be             used.


                  Specifically, GEORGE S. BLANKENBAKER, JR. falsely advised investors that

                  their investment funds would be invested in a manner that would result in routine

                  interest payments back to the Stargrower Entities from the businesses into which




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                 the funds were invested and that then the Stargrower Entities would make regular

                 periodic interest payments to the investors.

            b.   Falsely advising investors regarding the nature of the businesses into which their

                 funds would be invested.

       6.        After certain investors' funds were deposited into the Stargrower Entities bank

accounts, GEORGE S. BLANKENBAKER, JR. did not invest the funds as represented, but

rather used the funds:

            a.   To make interest payments and retum of principal payments to other Stargrower

                 Entities investors; and

            b.   In other business ventures of GEORGE S. BLANKENBAKER, JR., contrary to

                 representations he made to the Stargrower Entities investors; and

            c.   For personal expenses.

                                EXECUTION OF THE SCHEME

       7.        On various occasions beginning not later than the 30th day of September 201 6, and

continuing until at least the 16th day of May 2019, in Hamilton County and Marion County, in the

Southem District of Indiana and elsewhere.

                              GEORGE S. BLANKENBAKER, JR.,

Defendant herein, having devised a scheme and artifice to defiaud and for obtaining money by

means of false or fraudulent pretenses, representations, or promises, as described in Paragraphs I

through 6 above as to Count       l,   did, for the purpose of executing such scheme and artifice,

knowingly cause various wire communications of writings or signals to be transmitted in interstate

commerce from Indianato another state, in violation    ofTitle   18,   United States Code, Section 1343.
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                                              COUNT 2
                                             Wire Fraud
                                           18 u.s.c. s 1343

                                         INTRODUCTION

       At times material to Counts 2 and 3 of this Information:

        l.     GEORGE S. BLANKENBAKER, JR., the Defendant herein, was a resident of

Marion County or Hamilton County, Indiana, within the Southem District of Indiana. and

primarily conducted his business operations from his residences. On certain occasions he

conducted business operations from offices located in Marion County or Hamilton County, Indiana

outside of his residences.

       2.      In March 2013, GEORGE S. BLANKENBAKER, JR., in concert with other

persons, caused to be created a business entity in the name   ofEDU Holding Trust (the Trust). That

entity was designed to receive funds from investors for the purchase of life insurance policies on

a secondary market at an amount less than the    maturity amount ofthe policies.

       3.      Investors     in the Trust received a document entitled "lif'e settlement    purchase

agreement" created by GEORGE S. BLANKENBAKER, JR., in which they were assured that

they were beneficiaries ofthe Trust and would receive compensation from the profits generated

when the life insurance policies matured, that is, when the insureds died.

       4.      In another document created by GEORGE S. BLANKENBAKER, JR.,                        and


provided to investors, he notified investors that an independent bank, the Bank of Utah, would

serve as an escrow agent to receive funds upon the maturity    ofthe life insurances policies and then

distribute the funds to the investors appropriately'




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                                THE SCHEME TO DEFRATID

       5.      Beginning not later than the 6th day of October 2016, and continuing until at least

the I Oth date of November 2016, GEORGE S. BLANKENBAKER, JR. did knowingty, and with

the intent to defraud, devise and execute a scheme and artilice to defraud, and to obtain money by

means of materially false and fraudulent pretenses. representations and promises, knowing that the

pretenses, representations, and promises were false and fraudulent when made. Specifically,

GEORGE S. BLANKENBAKER, JR. falsely advised investors in the Trust that they would

receive compensation from the profits generated when the life insurance policies matured, when,

in fact, he knew they would not as he diverted some ofthese funds to himself for other purposes.

                              EXECUTION OF THE SCHEME

       6.      On various occasions beginning not later than the 7th day ofNovember 2016, and

continuing until at least the lOth day of November 2016, in Hamilton County and Marion County,

in the Southem District of Indiana and elsewhere,

                            GEORGE S. BLANKENBAKER, JR.,

Defendant herein, having devised a scheme and artifice to defraud and for obtaining money by

means of false or fraudulent pretenses, representations, or promises, as described in Paragraphs   1




through 5 above as to Count 2, did, for the purpose of executing such scheme and artifice,

knowingly cause various wire communications of writings or signals to be transmitted in interstate

commerce from Indiana to another state, in violation of Title 18, United States Code, Section 1343.




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                                               COUNT 3
                                           Money Laundering
                                            18 U.S.C. S 1957

       On or about the 8th day of November 20'16, in Marion County, in the Southem District                  of
Indiana,

                                GEORGE S. BLANKENBAKER, JR.,

Defendant herein, did knowingly engage in a monetary transaction in criminally derived property

in the amount of $28,299.92, more or less, derived from specified unlawful activity, for                    the

payment    of   a credit card debt, in that the said   GEORGE S. BLANKENBAKER, JR. did cause

to be transfened or exchanged, in and affecting interstate commerce, funds drawn on a checking

account maintained at Financial Center First Credit Union, a financial institution, said funds having

been derived from the wire lraud perpetrated by GEORGE S. BLANKENBAKER, JR. as

charged in Count 2     ofthis Information, in violation of Title       18, United States Code, Section 1957.

                                    FORFEITURE ALLEGATION

       i.         The allegations contained in Counts       1 and 2   ofthis Information   are hereby realleged


and incorporated by reference for the purpose of alleging tbrf'eitures pursuant to Title 18, United

States Code, Section     981(a)(l)(C) and Title 28, United States Code, Section 2461(c).

       2.         Upon conviction of one or more of the offenses in violation of Title 18, United

States Code, Section 1343 set forth         in Counts 1       ar,d    2 of this Information, the Defendant,

GEORGE S. BLANKENBAKER, JR. shall forfeit to the United States of America, pursuant to

Title 18, United States Code, Section 981(aX1XC) and Title 28, United States Code, Section

2461(c), any property, real or personal, which constitutes or is derived from proceeds traceable to

the offenses. Upon conviction, the Defendant agrees to an order or forfeiture in the form of a




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money judgment of $1,550,025.48, representing the amount of proceeds the Defendant obtained

from his wire fraud offenses.

       3.      If any of the property   described above, as a result of any act or omission of the

Defendant:

               a.   cannot be located upon the exercise of due diligence;

               b.   has been transferred or sold to, or deposited   with,   a   third party;

               c.   has been placed beyond   thejurisdiction ofthe court;

               d.   has been substantially diminished in value; or

               e.   has been commingled with other property which cannot be divided without

                    difficulry,

the United States of America shall be entitled to forfeiture of substitute property pursuant to   Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

       All pursuant to l8 U.S.C. g 981(aXlXC)      and 28 U.S.C. g 2461(c).



                                                       JOHN E. CHILDRESS
                                                       Acting United States Attomel


                                              By
                                                          es M.
                                                       Assistant United States Attomev


                                              By
                                                       Cindy J.
                                                       Criminal       el




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